Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 1 of 36 Page ID #:9




                        EXHIBIT A
        Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 2 of 36 Page ID #:10
Published Group of Photos, *EXCLUSIVE* Paul Rudd gets energetic on the set of Ant-Man And The Wasp - set number BGUS_1023958 - 27 images, published 2017-10-13




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Paul Rudd gets energetic on the set of 'Ant-Man And The
 Search Results: Displaying 1 of 1 entries




                             Group Registration of Published Photos, *EXCLUSIVE* Paul Rudd gets...

                    Type of Work: Visual Material
     Registration Number / Date: VA0002086927 / 2018-01-10
                Application Title: Group Registration of Published Photos, *EXCLUSIVE* Paul Rudd gets energetic on
                                   the set of ’Ant-Man And The Wasp’ - set number BGUS_1023958 - 27 images,
                                   published 2017-10-13.
                            Title: Group Registration of Published Photos, *EXCLUSIVE* Paul Rudd gets energetic on
                                   the set of ’Ant-Man And The Wasp’ - set number BGUS_1023958 - 27 images,
                                   published 2017-10-13.
                      Description: Electronic file (eService)
             Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N Pacific Coast
                                   Hwy., Suite 200, Redondo Beach, CA, 90277, United States.
                 Date of Creation: 2017
              Date of Publication: 2017-10-13
      Nation of First Publication: United States
 Alternative Title on Application: *EXCLUSIVE* Paul Rudd gets energetic on the set of ’Ant-Man And The Wasp’ -
                                   set number BGUS_1023958 - 27 images
      Authorship on Application: August Heim; Domicile: United States. Authorship: photograph.
         Rights and Permissions: Maria Buda, BackGrid USA, Inc., 700 N Pacific Coast Hwy., Suite 200, Redondo
                                   Beach, CA, 90277, United States, (917) 242-1505, (310) 798-9111,
                                   mbuda@akmgsi.com
                          Names: Heim, August
                                   BackGrid USA, Inc.




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2018-02-08 09:00:41                                                                                                                         Page 1 of 1
      Case 2:20-cv-09883-PA-AS       Document 1-1 Filed 10/27/20 Page 3 of 36 Page ID #:11
                        *EXCLUSIVE* Avengers 4 filming in Atlanta - set number BGUS_1106491 - 22 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* 'Avengers 4' filming in Atlanta
 Search Results: Displaying 1 of 1 entries




                  *EXCLUSIVE* 'Avengers 4' filming in Atlanta - set number BGUS_1106491 - 22...

               Type of Work: Visual Material
 Registration Number / Date: VA0002098181 / 2018-04-10
            Application Title: *EXCLUSIVE* ’Avengers 4’ filming in Atlanta - set number BGUS_1106491 - 22 images
                        Title: *EXCLUSIVE* ’Avengers 4’ filming in Atlanta - set number BGUS_1106491 - 22
                               images. [Group registration of published photographs. 22 photographs. 2018-01-10 to
                               2018-01-10]
                  Description: 22 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast Hwy,
                               Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-10 to 2018-01-10
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (22 photographs): 10226950, 10226951, 10226952, 10226953,
                               10226954, 10226955, 10226956, 10226957, 10226958, 10226959, 10226960, 10226961,
                               10226962, 10226963, 10226964, 10226965, 10226966, 10226967, 10227089, 10227090,
                               10227091, 10227092
                      Names: Heim, August
                               BackGrid USA, Inc.




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2018-04-17 09:01:13                                                                                         Page 1 of 2
     Case 2:20-cv-09883-PA-AS       Document 1-1 Filed 10/27/20 Page 4 of 36 Page ID #:12
                       *EXCLUSIVE* Avengers 4 filming in Atlanta - set number BGUS_1106491 - 22 images
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2018-04-17 09:01:13                                                                                   Page 2 of 2
      Case *EXCLUSIVE*
            2:20-cv-09883-PA-AS                   Document 1-1 Filed 10/27/20 Page 5 of 36 Page ID #:13
                       Chris Evans sports his old Captain America costume on the set of Avengers 4 - set number BGUS_1105954 - 42 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set...

               Type of Work: Visual Material
 Registration Number / Date: VA0002098194 / 2018-04-10
            Application Title: *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
                               ’Avengers 4’ - set number BGUS_1105954 - 42 images
                        Title: *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
                               ’Avengers 4’ - set number BGUS_1105954 - 42 images. [Group registration of published
                               photographs. 42 photographs. 2018-01-10 to 2018-01-10]
                  Description: 42 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast Hwy,
                               Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-10 to 2018-01-10
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (42 photographs): 10218626, 10218627, 10218628, 10218629,
                               10218630, 10218667, 10218668, 10218669, 10218670, 10218671, 10218672, 10218673,
                               10218674, 10218675, 10218676, 10218677, 10218678, 10218679, 10218680, 10218681,
                               10218682, 10218683, 10218684, 10218685, 10218686, 10218687, 10218688, 10218689,
                               10218690, 10218691, 10218692, 10218693, 10218694, 10218695, 10218696, 10218697,
                               10218698, 10218699, 10218700, 10218701, 10218702, 10218703
                          Names: Heim, August
                                 BackGrid USA, Inc.




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2018-04-17 09:00:44                                                                                                            Page 1 of 2
     Case *EXCLUSIVE*
           2:20-cv-09883-PA-AS                   Document 1-1 Filed 10/27/20 Page 6 of 36 Page ID #:14
                      Chris Evans sports his old Captain America costume on the set of Avengers 4 - set number BGUS_1105954 - 42 images

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2018-04-17 09:00:44                                                                                                           Page 2 of 2
      Case 2:20-cv-09883-PA-AS           Document 1-1 Filed 10/27/20 Page 7 of 36 Page ID #:15
                   *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel - set number BGUS_1119901 - 5 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel
 Search Results: Displaying 1 of 1 entries




                    *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel - set number...

               Type of Work: Visual Material
 Registration Number / Date: VA0002099606 / 2018-04-19
            Application Title: *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel - set number
                               BGUS_1119901 - 5 images
                        Title: *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel - set number
                               BGUS_1119901 - 5 images. [Group registration of published photographs. 5 photographs.
                               2018-01-24 to 2018-01-24]
                  Description: 5 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-24 to 2018-01-24
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (5 photographs): 10467439, 10467440, 10467441, 10467442,
                               10467443
                      Names: Heim, August
                               BackGrid USA, Inc.




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2018-04-24 09:01:45                                                                                          Page 1 of 2
     Case 2:20-cv-09883-PA-AS           Document 1-1 Filed 10/27/20 Page 8 of 36 Page ID #:16
                  *EXCLUSIVE* Brie Larson arrives on the set of Captain Marvel - set number BGUS_1119901 - 5 images
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2018-04-24 09:01:45                                                                                        Page 2 of 2
      Case*EXCLUSIVE*
            2:20-cv-09883-PA-AS              Document 1-1 Filed 10/27/20 Page 9 of 36 Page ID #:17
                      Cobie Smulders and Samuel L. Jackson re-teaming for upcoming Marvel movie! - set number BGUS_1116452 - 35 images




 Public Catalog
  Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Cobie Smulders and Samuel L. Jackson re-
 teaming for upcoming Marvel
 Search Results: Displaying 1 of 1 entries




                   *EXCLUSIVE* Cobie Smulders and Samuel L. Jackson re-teaming for upcoming...

               Type of Work: Visual Material
 Registration Number / Date: VA0002099609 / 2018-04-20
            Application Title: *EXCLUSIVE* Cobie Smulders and Samuel L. Jackson re-teaming for upcoming Marvel
                               movie! - set number BGUS_1116452 - 35 images
                        Title: *EXCLUSIVE* Cobie Smulders and Samuel L. Jackson re-teaming for upcoming Marvel
                               movie! - set number BGUS_1116452 - 35 images. [Group registration of published
                               photographs. 35 photographs. 2018-01-21 to 2018-01-21]
                  Description: 35 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-21 to 2018-01-21
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (35 photographs): 10411681, 10411682, 10411683, 10411684,
                               10411685, 10411686, 10411687, 10411688, 10411689, 10411690, 10411691, 10411692,
                               10411693, 10411694, 10411695, 10411696, 10411697, 10411698, 10411699, 10411700,
                               10411701, 10411702, 10411703, 10411704, 10411705, 10411849, 10411850, 10411851,
                               10411852, 10411853, 10411854, 10411855, 10411856, 10411857, 10411858
                         Names: Heim, August
                                BackGrid USA, Inc.




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2018-04-24 09:02:05                                                                                                          Page 1 of 2
    Case *EXCLUSIVE*
          2:20-cv-09883-PA-AS               Document 1-1 Filed 10/27/20 Page 10 of 36 Page ID #:18
                     Cobie Smulders and Samuel L. Jackson re-teaming for upcoming Marvel movie! - set number BGUS_1116452 - 35 images

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2018-04-24 09:02:05                                                                                                        Page 2 of 2
     Case 2:20-cv-09883-PA-AS             Document 1-1 Filed 10/27/20 Page 11 of 36 Page ID #:19
             *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set number BGUS_1120135 - 28 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain
 Search Results: Displaying 1 of 1 entries




                    *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain...

               Type of Work: Visual Material
 Registration Number / Date: VA0002099945 / 2018-04-24
            Application Title: *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set
                               number BGUS_1120135 - 28 images
                        Title: *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set
                               number BGUS_1120135 - 28 images. [Group registration of published photographs. 28
                               photographs. 2018-01-26 to 2018-01-26]
                  Description: 28 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-26 to 2018-01-26
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (28 photographs): 10504641, 10504642, 10504643, 10504644,
                               10504645, 10504646, 10504647, 10504648, 10504649, 10504650, 10504651, 10504652,
                               10504653, 10504654, 10504655, 10504656, 10504657, 10504658, 10504659, 10504660,
                               10504661, 10504662, 10504663, 10504664, 10504665, 10504666, 10504667, 10504668
                        Names: Heim, August
                               BackGrid USA, Inc.




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2018-04-26 09:01:22                                                                                                   Page 1 of 2
    Case 2:20-cv-09883-PA-AS             Document 1-1 Filed 10/27/20 Page 12 of 36 Page ID #:20
            *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set number BGUS_1120135 - 28 images
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2018-04-26 09:01:22                                                                                                  Page 2 of 2
     Case 2:20-cv-09883-PA-AS          Document 1-1 Filed 10/27/20 Page 13 of 36 Page ID #:21
                     *EXCLUSIVE* Brie Larson films Captain Marvel in LA - set number BGUS_1179406 - 15 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Brie Larson films 'Captain Marvel' in LA
 Search Results: Displaying 1 of 1 entries




                       *EXCLUSIVE* Brie Larson films 'Captain Marvel' in LA - set number...

               Type of Work: Visual Material
 Registration Number / Date: VA0002103073 / 2018-05-14
            Application Title: *EXCLUSIVE* Brie Larson films ’Captain Marvel’ in LA - set number BGUS_1179406 -
                               15 images
                        Title: *EXCLUSIVE* Brie Larson films ’Captain Marvel’ in LA - set number BGUS_1179406 -
                               15 images. [Group registration of published photographs. 15 photographs. 2018-03-20 to
                               2018-03-20]
                  Description: 15 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-03-20 to 2018-03-20
  Nation of First Publication: United States
  Authorship on Application: Kevin Perkins; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in March 2018 (15 photographs): 11573351, 11573352, 11573353, 11573354,
                               11573355, 11573356, 11573357, 11573358, 11573359, 11573360, 11573361, 11573362,
                               11573363, 11573364, 11573365
                      Names: Perkins, Kevin
                               BackGrid USA, Inc.




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2018-05-20 09:01:46                                                                                          Page 1 of 2
    Case 2:20-cv-09883-PA-AS          Document 1-1 Filed 10/27/20 Page 14 of 36 Page ID #:22
                    *EXCLUSIVE* Brie Larson films Captain Marvel in LA - set number BGUS_1179406 - 15 images
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2018-05-20 09:01:46                                                                                   Page 2 of 2
     Case*EXCLUSIVE*
           2:20-cv-09883-PA-AS                    Document 1-1 Filed 10/27/20 Page 15 of 36 Page ID #:23
                     First look at Kiernan Shipka and Ross Lynch on the set of the Sabrina series reboot - set number BGUS_1193177 - 45 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* First look at Kiernan Shipka and Ross Lynch on the set of the
 Search Results: Displaying 1 of 1 entries




                      *EXCLUSIVE* First look at Kiernan Shipka and Ross Lynch on the set of the...

               Type of Work: Visual Material
 Registration Number / Date: VA0002108206 / 2018-06-27
            Application Title: *EXCLUSIVE* First look at Kiernan Shipka and Ross Lynch on the set of the ’Sabrina’
                               series reboot - set number BGUS_1193177 - 45 images
                        Title: *EXCLUSIVE* First look at Kiernan Shipka and Ross Lynch on the set of the ’Sabrina’
                               series reboot - set number BGUS_1193177 - 45 images. [Group registration of published
                               photographs. 45 photographs. 2018-04-04 to 2018-04-04]
                  Description: 45 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast Hwy,
                               Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-04-04 to 2018-04-04
  Nation of First Publication: United States
  Authorship on Application: Justin King; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in April 2018 (45 photographs): 11809324, 11809325, 11809326, 11809327,
                               11809328, 11809329, 11809330, 11809331, 11809332, 11809333, 11809334, 11809335,
                               11809336, 11809337, 11809338, 11809339, 11809340, 11809341, 11809342, 11809343,
                               11809344, 11809345, 11809346, 11809347, 11809348, 11809349, 11809350, 11809351,
                               11809352, 11809353, 11809354, 11809355, 11809356, 11809357, 11809358, 11809467,
                               11809468, 11809469, 11809470, 11809471, 11809472, 11809473, 11809474, 11809475,
                               11809476
                      Names: King, Justin
                               BackGrid USA, Inc.




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2018-06-29 09:01:10                                                                                                                 Page 1 of 2
    Case*EXCLUSIVE*
          2:20-cv-09883-PA-AS                    Document 1-1 Filed 10/27/20 Page 16 of 36 Page ID #:24
                    First look at Kiernan Shipka and Ross Lynch on the set of the Sabrina series reboot - set number BGUS_1193177 - 45 images




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2018-06-29 09:01:10                                                                                                                Page 2 of 2
     Case 2:20-cv-09883-PA-AS           Document 1-1 Filed 10/27/20 Page 17 of 36 Page ID #:25
                 *EXCLUSIVE* The Walking Dead starts filming season 9 in Atlanta - set number BGUS_1222656 - 40 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* 'The Walking Dead' starts filming season 9 in Atlanta
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* 'The Walking Dead' starts filming season 9 in Atlanta - set...

               Type of Work: Visual Material
 Registration Number / Date: VA0002113108 / 2018-07-30
            Application Title: *EXCLUSIVE* ’The Walking Dead’ starts filming season 9 in Atlanta - set number
                               BGUS_1222656 - 40 images
                        Title: *EXCLUSIVE* ’The Walking Dead’ starts filming season 9 in Atlanta - set number
                               BGUS_1222656 - 40 images. [Group registration of published photographs. 40
                               photographs. 2018-05-03 to 2018-05-03]
                  Description: 40 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-05-03 to 2018-05-03
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in May 2018 (40 photographs): 12373100, 12373101, 12373102, 12373103,
                               12373104, 12373105, 12373106, 12373107, 12373108, 12373109, 12373110, 12373111,
                               12373112, 12373462, 12373463, 12373464, 12373465, 12373466, 12373467, 12373468,
                               12373469, 12373470, 12373471, 12373472, 12373473, 12373474, 12373475, 12373476,
                               12373477, 12373478, 12373479, 12373480, 12373481, 12373482, 12373483, 12373484,
                               12373485, 12373486, 12373487, 12373488
                       Names: Heim, August
                              BackGrid USA, Inc.




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2018-08-02 09:00:56                                                                                          Page 1 of 2
    Case 2:20-cv-09883-PA-AS           Document 1-1 Filed 10/27/20 Page 18 of 36 Page ID #:26
                *EXCLUSIVE* The Walking Dead starts filming season 9 in Atlanta - set number BGUS_1222656 - 40 images

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2018-08-02 09:00:56                                                                                         Page 2 of 2
     Case 2:20-cv-09883-PA-AS         Document 1-1 Filed 10/27/20 Page 19 of 36 Page ID #:27
                    *EXCLUSIVE* Ben Affleck gets a delivery at his house - set number BGUS_1315590 - 14 images




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 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Ben Affleck gets a delivery at his house
 Search Results: Displaying 1 of 1 entries




                        *EXCLUSIVE* Ben Affleck gets a delivery at his house - set number...

               Type of Work: Visual Material
 Registration Number / Date: VA0002127607 / 2018-11-17
            Application Title: *EXCLUSIVE* Ben Affleck gets a delivery at his house - set number BGUS_1315590 - 14
                               images
                        Title: *EXCLUSIVE* Ben Affleck gets a delivery at his house - set number BGUS_1315590 - 14
                               images. [Group registration of published photographs. 14 photographs. 2018-08-20 to
                               2018-08-20]
                  Description: 14 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-08-20 to 2018-08-20
  Nation of First Publication: United States
  Authorship on Application: Maximillano Lopes Jr.; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in August 2018 (14 photographs): 14594712, 14594713, 14594773, 14594774,
                               14594775, 14594776, 14594855, 14594856, 14594857, 14594858, 14594973, 14594974,
                               14594975, 14595169
                      Names: Lopes Jr., Maximillano
                               BackGrid USA, Inc.




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2018-11-25 09:01:24                                                                                         Page 1 of 2
    Case 2:20-cv-09883-PA-AS         Document 1-1 Filed 10/27/20 Page 20 of 36 Page ID #:28
                   *EXCLUSIVE* Ben Affleck gets a delivery at his house - set number BGUS_1315590 - 14 images
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2018-11-25 09:01:24                                                                                   Page 2 of 2
                  Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 21 of 36 Page ID #:29
om Cruise is spotted for the first time as he reprises his starring role in sequel to Top Gun 32 years after hit films original release **WEB EMBARGO UNTIL 11AM PST ON 10/10/18 - set number B




            Public Catalog
            Copyright Catalog (1978 to present)
            Search Request: Left Anchored Title = *PREMIUM-
            EXCLUSIVE* Tom Cruise is spotted for the first time as he reprises his
            Search Results: Displaying 1 of 1 entries




                                    *PREMIUM-EXCLUSIVE* Tom Cruise is spotted for the first time as he reprises...

                          Type of Work: Visual Material
            Registration Number / Date: VA0002127611 / 2018-11-18
                       Application Title: *PREMIUM-EXCLUSIVE* Tom Cruise is spotted for the first time as he reprises his
                                          starring role in sequel to ’Top Gun’ 32 years after hit film’s original release **WEB
                                          EMBARGO UNTIL 11AM PST ON 10/10/18 - set number BGUS_1362232 - 40 images
                                   Title: *PREMIUM-EXCLUSIVE* Tom Cruise is spotted for the first time as he reprises his
                                          starring role in sequel to ’Top Gun’ 32 years after hit film’s original release **WEB
                                          EMBARGO UNTIL 11AM PST ON 10/10/18 - set number BGUS_1362232 - 40 images.
                                          [Group registration of published photographs. 40 photographs. 2018-10-09 to 2018-10-09]
                             Description: 40 photographs : Electronic file (eService)
                   Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                                          Highway, Suite 200, Redondo Beach, CA, 90277, United States.
                       Date of Creation: 2018
                Publication Date Range: 2018-10-09 to 2018-10-09
             Nation of First Publication: United States
             Authorship on Application: David Sanchez; Domicile: United States. Authorship: photographs.
                        Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                                          individual photographs included in this group.
                                          Regarding group registration: A group of published photographs may be registered on one
                                          application with one filing fee only under limited circumstances. ALL of the following are
                                          required: 1. All photographs (a) were created by the same author AND (b) are owned by
                                          the same copyright claimant AND (c) were published in the same calendar year AND 2.
                                          The group contains 750 photographs or less AND 3. A sequentially numbered list of
                                          photographs containing the title, file name and month of publication for each photograph
                                          included in the group must be uploaded along with other required application materials.
                                          The list must be submitted in an approved document format such as .XLS or .PDF. The
                                          file name for the numbered list must contain the title of the group and the Case Number
                                          assigned to the application.
                           Photographs: Published in October 2018 (40 photographs): 16665071, 16665072, 16665073, 16665074,
                                          16665075, 16665076, 16665077, 16665078, 16665079, 16665080, 16665370, 16665371,
                                          16665372, 16665373, 16665374, 16665375, 16665376, 16665377, 16665378, 16665379,
                                          16665380, 16665381, 16665382, 16665383, 16665384, 16665385, 16665386, 16665387,
                                          16665388, 16665389, 16665390, 16665391, 16665392, 16665393, 16665394, 16665395,
                                          16665396, 16665397, 16665398, 16665399
                                 Names: Sanchez, David
                                          BackGrid USA, Inc.




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          2018-11-25 09:01:44                                                                                                                                    Page 1 of 2
                  Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 22 of 36 Page ID #:30
om Cruise is spotted for the first time as he reprises his starring role in sequel to Top Gun 32 years after hit films original release **WEB EMBARGO UNTIL 11AM PST ON 10/10/18 - set number B

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          2018-11-25 09:01:44                                                                                                                                    Page 2 of 2
     Case 2:20-cv-09883-PA-AS                Document 1-1 Filed 10/27/20 Page 23 of 36 Page ID #:31
           *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in "Birds of Prey" - set number BGUS_1474929 - 87 images




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 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in 'Birds
 Search Results: Displaying 1 of 1 entries




                       *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in...

               Type of Work: Visual Material
 Registration Number / Date: VA0002148912 / 2019-04-25
            Application Title: *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in ’"Birds of
                               Prey" - set number BGUS_1474929 - 87 images
                        Title: *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in ’"Birds of
                               Prey" - set number BGUS_1474929 - 87 images. [Group registration of published
                               photographs. 87 photographs. 2019-02-02 to 2019-02-02]
                  Description: 87 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-02-02 to 2019-02-02
  Nation of First Publication: United States
  Authorship on Application: Walter Blanco; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2019 (87 photographs): 18726980, 18726981, 18726982, 18726983,
                               18726984, 18726985, 18726986, 18726987, 18726988, 18727171, 18727172, 18727173,
                               18727174, 18727175, 18727176, 18727177, 18727178, 18727179, 18727180, 18727181,
                               18727182, 18727183, 18727184, 18727185, 18727186, 18727187, 18727188, 18727189,
                               18727190, 18727191, 18727192, 18727193, 18727194, 18727195, 18727196, 18727197,
                               18727198, 18727199, 18727200, 18727201, 18727202, 18727203, 18727204, 18727205,
                               18727206, 18727207, 18727208, 18727209, 18727210, 18727211, 18727212, 18727213,
                               18727214, 18727215, 18727216, 18727217, 18727218, 18727219, 18727220, 18727221,
                               18727222, 18727223, 18727224, 18727225, 18727226, 18727227, 18727228, 18727229,
                               18727230, 18727231, 18727232, 18727233, 18727234, 18727235, 18727236, 18727237,
                               18727238, 18727239, 18727240, 18727241, 18727242, 18727243, 18727244, 18727245,
                               18727246, 18727247, 18727248
                      Names: Blanco, Walter
                               BackGrid USA, Inc.

2019-05-06 09:01:22                                                                                                          Page 1 of 2
    Case 2:20-cv-09883-PA-AS                Document 1-1 Filed 10/27/20 Page 24 of 36 Page ID #:32
          *EXCLUSIVE* Margot Robbie films scenes for latest Harley Quinn role in "Birds of Prey" - set number BGUS_1474929 - 87 images




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2019-05-06 09:01:22                                                                                                         Page 2 of 2
     Case 2:20-cv-09883-PA-AS               Document 1-1 Filed 10/27/20 Page 25 of 36 Page ID #:33
              *EXCLUSIVE* Margot Robbie carries her belongings on the set of Birds Of Prey - set number BGUS_1494246 - 48 images




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 Search Request: Left Anchored Title = *EXCLUSIVE* Margot Robbie carries her belongings on the set of 'Birds Of
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* Margot Robbie carries her belongings on the set of 'Birds Of...

               Type of Work: Visual Material
 Registration Number / Date: VA0002149949 / 2019-04-25
            Application Title: *EXCLUSIVE* Margot Robbie carries her belongings on the set of ’Birds Of Prey’ - set
                               number BGUS_1494246 - 48 images
                        Title: *EXCLUSIVE* Margot Robbie carries her belongings on the set of ’Birds Of Prey’ - set
                               number BGUS_1494246 - 48 images. [Group registration of published photographs. 48
                               photographs. 2019-02-21 to 2019-02-21]
                  Description: 48 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-02-21 to 2019-02-21
  Nation of First Publication: United States
  Authorship on Application: Walter Blanco; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2019 (48 photographs): 19110101, 19110102, 19110103, 19110104,
                               19110105, 19110106, 19110107, 19110108, 19110109, 19110110, 19110111, 19110112,
                               19110113, 19110114, 19110115, 19110116, 19110117, 19110118, 19110119, 19110120,
                               19110121, 19110122, 19110123, 19110124, 19110125, 19110126, 19110127, 19110128,
                               19110129, 19110130, 19110131, 19110132, 19110133, 19110134, 19110135, 19110136,
                               19110137, 19110138, 19110139, 19110140, 19110141, 19110142, 19110143, 19110144,
                               19110145, 19110146, 19110147, 19110148
                      Names: Blanco, Walter
                               BackGrid USA, Inc.




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2019-05-16 09:01:03                                                                                                    Page 1 of 2
    Case 2:20-cv-09883-PA-AS               Document 1-1 Filed 10/27/20 Page 26 of 36 Page ID #:34
             *EXCLUSIVE* Margot Robbie carries her belongings on the set of Birds Of Prey - set number BGUS_1494246 - 48 images

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2019-05-16 09:01:03                                                                                                   Page 2 of 2
     Case 2:20-cv-09883-PA-AS               Document 1-1 Filed 10/27/20 Page 27 of 36 Page ID #:35
             *EXCLUSIVE* Mary Elizabeth Winstead films "Birds of Prey" with her stunt double - set number BGUS_1481865 - 75 images




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 Search Request: Left Anchored Title = *EXCLUSIVE* Mary Elizabeth Winstead films Birds of Prey with her stunt
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* Mary Elizabeth Winstead films "Birds of Prey" with her stunt...

               Type of Work: Visual Material
 Registration Number / Date: VA0002150921 / 2019-04-25
            Application Title: *EXCLUSIVE* Mary Elizabeth Winstead films "Birds of Prey" with her stunt double - set
                               number BGUS_1481865 - 75 images
                        Title: *EXCLUSIVE* Mary Elizabeth Winstead films "Birds of Prey" with her stunt double - set
                               number BGUS_1481865 - 75 images. [Group registration of published photographs. 75
                               photographs. 2019-02-09 to 2019-02-09]
                  Description: 75 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-02-09 to 2019-02-09
  Nation of First Publication: United States
  Authorship on Application: Walter Blanco; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2019 (75 photographs): 18859996, 18859997, 18859998, 18859999,
                               18860000, 18860001, 18860002, 18860003, 18860004, 18860005, 18860006, 18860007,
                               18860008, 18860009, 18860010, 18860011, 18860012, 18860013, 18860014, 18860015,
                               18860016, 18860017, 18860018, 18860019, 18860020, 18860021, 18860022, 18860023,
                               18860024, 18860025, 18860026, 18860027, 18860028, 18860029, 18860030, 18860031,
                               18860032, 18860033, 18860034, 18860035, 18860036, 18860037, 18860038, 18860039,
                               18860040, 18860041, 18860157, 18860158, 18860159, 18860160, 18860161, 18860162,
                               18860163, 18860164, 18860165, 18860166, 18860167, 18860168, 18860169, 18860170,
                               18860171, 18860172, 18860173, 18860174, 18860175, 18860176, 18860177, 18860178,
                               18860179, 18860180, 18860181, 18860182, 18860183, 18860184, 18860185
                      Names: Blanco, Walter
                               BackGrid USA, Inc.



2019-05-19 09:00:15                                                                                                      Page 1 of 2
    Case 2:20-cv-09883-PA-AS               Document 1-1 Filed 10/27/20 Page 28 of 36 Page ID #:36
            *EXCLUSIVE* Mary Elizabeth Winstead films "Birds of Prey" with her stunt double - set number BGUS_1481865 - 75 images


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2019-05-19 09:00:15                                                                                                     Page 2 of 2
     Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 29 of 36 Page ID #:37
       *EXCLUSIVE* First Look: Sebastian Stan begins filming The Falcon And The Winter Soldier in Atlanta! - set number BGUS_1786610 - 28 images




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                                           U.S. Copyright Office Catalog is available. More.




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 Search Request: Left Anchored Title = *EXCLUSIVE* First Look: Sebastian Stan begins filming 'The Falcon And The
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* First Look: Sebastian Stan begins filming 'The Falcon And The...

               Type of Work: Visual Material
 Registration Number / Date: VA0002197921 / 2020-02-11
            Application Title: *EXCLUSIVE* First Look: Sebastian Stan begins filming ’The Falcon And The Winter
                               Soldier’ in Atlanta! - set number BGUS_1786610 - 28 images
                        Title: *EXCLUSIVE* First Look: Sebastian Stan begins filming ’The Falcon And The Winter
                               Soldier’ in Atlanta! - set number BGUS_1786610 - 28 images. [Group registration of
                               published photographs. 28 photographs. 2019-11-14 to 2019-11-14]
                  Description: 28 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-11-14 to 2019-11-14
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in November 2019 (28 photographs): 24891046, 24891045, 24891044,
                               24891043, 24891042, 24891041, 24891040, 24891039, 24891038, 24891037, 24891036,
                               24891035, 24891034, 24891033, 24891032, 24891031, 24891030, 24891029, 24891028,
                               24891027, 24891026, 24891025, 24891024, 24891023, 24891022, 24891021, 24891020,
                               24891019
                      Names: Heim, August
                               BackGrid USA, Inc.




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2020-04-01 09:00:47                                                                                                                   Page 1 of 2
    Case 2:20-cv-09883-PA-AS Document 1-1 Filed 10/27/20 Page 30 of 36 Page ID #:38
      *EXCLUSIVE* First Look: Sebastian Stan begins filming The Falcon And The Winter Soldier in Atlanta! - set number BGUS_1786610 - 28 images

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2020-04-01 09:00:47                                                                                                                  Page 2 of 2
     Case 2:20-cv-09883-PA-AS             Document 1-1 Filed 10/27/20 Page 31 of 36 Page ID #:39
                  *EXCLUSIVE* Elizabeth Olsen on the set of Marvels Wandavision - set number BGUS_1817882 - 17 images




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                                      U.S. Copyright Office Catalog is available. More.




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 Search Request: Left Anchored Title = *EXCLUSIVE* Elizabeth Olsen on the set of Marvel's 'Wandavision'
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* Elizabeth Olsen on the set of Marvel's 'Wandavision' - set...

               Type of Work: Visual Material
 Registration Number / Date: VA0002199888 / 2020-03-13
            Application Title: *EXCLUSIVE* Elizabeth Olsen on the set of Marvel’s ’Wandavision’ - set number
                               BGUS_1817882 - 17 images
                        Title: *EXCLUSIVE* Elizabeth Olsen on the set of Marvel’s ’Wandavision’ - set number
                               BGUS_1817882 - 17 images. [Group registration of published photographs. 17
                               photographs. 2019-12-16 to 2019-12-16]
                  Description: 17 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-12-16 to 2019-12-16
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in December 2019 (17 photographs): 25502571, 25502570, 25502569, 25502568,
                               25502567, 25502566, 25502565, 25502564, 25502563, 25502562, 25502561, 25502560,
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                      Names: Heim, August
                               BackGrid USA, Inc.




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